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HOLBROOK, SARAH

From: ADAMS, TIM

Sent: Tuesday, July 19, 2016 1:43 PM
To: HOLBROOK, SARAH

Subject: RE: question

Hi Sarah,

Central Office IT controls all that stuff, so | wouldn’t know. But | do know that by default the system is configured to
delete e-mails that are 90 days or older (so that must be the law), at which time it goes in the Deleted Items for 14 days,
and then it’s removed from there. | do know it’s not required to archive e-mails, so there wouldn’t be any requirement
for how long to keep it if you choose to do so. Staff that have lawsuits against them have their accounts put on litigation
hold where nothing is to be deleted, but other than that, 90 days+14 in Deleted and then they’re gone.

Thanks,

Tim Adams

Systems/LAN administrator

IT Department

Arizona State Prison Florence Complex
(520) 868-4011 x25053
tadams1@azcorrections.gov

This email contains information that is intended only for the person(s) to whom it is addressed. If you receive this communication in
error, please do not retain it or distribute it and notify the sender immediately.

From: HOLBROOK, SARAH

Sent: Tuesday, July 19, 2016 1:21 PM

To: ADAMS, TIM <TADAMS1 @azcorrections.gov>
Subject: question

I have an inmate that is involved in all sorts of grievances and legal actions. His most recent complaint
has to do with the policy/procedure of our email system.

I've scanned through the DO policies but have not found what I'm looking for. I'm trying to find if there
is anything that states how long we are suppose to archive emails, etc.

He states in his resolution of policy/procedures, that DOC is not to destroy emails. He claims that they
are public information.

Can you tell me where I should be looking.

Thank You,

COULS. Holbrook

ASPC-F-Gast Unit

Programs / Grievance Coordinator
520-868-4011, &, ext. 25354

Case 4:16-cv-00282-DCB-PSOT Document 66 Filed 01/31/18 Page 9 of 39

ARIZONA DEPARTMENT OF CORRECTIONS
Arizona State Prison Complex-Tucson

MEMORANDUM
Ta: Property file
From: Armando Aguilar, Depaty Warden, ASPC-Tucson/ Cimarron
Date: December 30, 2008
Subject Tripati #10208]
The following documents have been provided from inmate Tripati’s personal

paperwork to replace missing items in his property file. This is in resolution to
grievance #'08-CL1-109 and all documents shall be considered valid.

br:
Deputy Warden Aguilar

CC Captain Grewe ee cee
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Attachment 7

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Attachment 8

ARIZONA DEPARTMENT OF CORRECTIONS

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ARIZONA DEPARTMENT OF CORRECTIONS

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MEMORANDUM
TO: Norry DL. Stewart, Director

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Case 4:16-cv-00282-DCB-PSOT Document 66 Filed 01/31/18 Page 18 of 39

ARIZONA STATE DEPARTMENT OF CORRECTIONS
Offender Operations

MEMORANDUM

TO: John Ontiveros, Cornplex VWvarden, Ryman

FROM

DATE: March 29, 2006 cue

SUBJECT.  tnmate Tripatl # 102061

As discussed you are correct Leyal Services: Monitor Legal Access Dary! Johnson
and the Attorney General s Stall have perso onal issues with this inmate. Due to the
issues the interest af the Department is comprarnised.

ety Sm,

larmate Trioati is allowed tc keep his fypewr' ter. The Depertment allows inmates to
use tyoewriters If they Nave a medical need. inmates are allowed tise of computers
for education.

nmate is allowed tc have his family purchase typewriter supplies; a replacement

ivpewriter; “ohon ns and ather legal suaplies.

This approval can only be overturned if the Director or | give a written directive.

Ve anpreval is valid for the duration of the inmate’s confinement.
Case 4:16-cv-00282-DCB-PSOT Document66- Filed 01/31/18 Page 19 of 39

Anant Kumar Trlpati LO2081 ‘Mov 21, 2003 | Sarchey/ary

Bqle3-OOl wait T ven. However, the State Cid ase Seeor ee
dost property because etait grote. the wrong tani Thang ay “sri Pe ay
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WAVE YOU DISCUSSED THIS WEEE In
If yes, give the ake? mevher’s name

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Filed 01/31/18

Page 20 of 39
Case 4:16-cv-00282-DCB-PSOT Document 66 Filed 01/31/18 Page 21 of 39

Arizona Mepaciment of Corveclions

1601 WEST JEFFERSON
PHOENIX, ARIZONA 85007
(602) 542-5497
www.azcorrections. gov

CHARLES L. RYAN

ANICE K. BREWER
GOVERNOR DIRECTOR
MEDICAL GRIEVANCE APPEAL: TO THE DIRECTOR
ADC No.: 102081 Case Nos.: C14-119-014

Inmate Name: TRIPATL ANANT
Institution: ASPC-TUCSON/MANZANITA

Date Received: November 5, 2014

Grievance Appeal in which you state that “ADOC has refused to give me

| have reviewed your
f Medical Officer of Corizon.

my diet" that was ordered by the Chie

een investigated including a review of your medical records.

Your grievance appeal has b
eal is denied. The reasons for this decision are:

Based on our findings, your app

14. Our review shows that on 8/28/14, you met with Corizon’s Medical Director (Dr.-S.
McQueen} concerning your diet issues. you were subsequently issued a No Gluten
Diet/Allergy Diet. “We have confirmed that this diet order has been. implemented. As to
your request for a Hindu Diet/Vegan Diet, this is a religious diet ana is under the
purview of the Chaplain; therefore, it will not be addressed within this response. You
are advised to discuss your request for a religious diet with the Chaplain assigned at

your facility.

mit a Health Needs Request (HNR) if you have additional issues or

2. Please sub
iscuss with a medical provider.

concerns which you wish to d

This response concludes the medical grievance process per Department Order 802.11 Medical

Grievance.

~~ aa pL 1 als

Charles L. Ryan, Difector

Facility Health Administrator, ASPC-Tucson
C.O. Inmate File

cc:

Page 1 of 1
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« Case 4:16-cv-00282-DCB-PSOT Document66 Filed 01/31/18 Page 22 of 39

ARIZONA DEY _ “ TIONS "|Health Gare rs and Senior Chaplains ordadng rested
A diets will compare, sign and date the Restricted Diel Order
Form. The HAP or Senior Chaplain will ratain their portion of

Restricte git Prag : the form and ensure the form is placed in the inmate s fecores
- C) Change Ty Reissue with the remaining portion of the order farm forwarded to the
f . )
Inmate Name (Last, First ML} A —— - JADC Number
——— . > {
[2 ipati AN ae Ig2oyf-
institution/Facility/Unit Housing Assignment Start Date Expiration Date
| MAA SR ISL q-d-/Y New’
cr a \
MEDICAL DIETS
Dental/Mechanical Soft Diet
C] (Easy to chew!swatiow) {_] Controlled Protein Diet [_j Pregnancy

oO Long-tenn Full Liquid Diet {_] RenayDialysis Oiet ”

{Automatically expires in 8 weeks - supplement required)

{_] Clear Liquid Diet

t : .
CJ Ao iy crpires ia 5 days) {"] wasting Syndrome [j-sttergy Diet
{_] Liquid Supplements {_] Chemotherapy Diet NG DAIR +f fu waited U; [ve

[yl 4ieGiuten Diet NUTS COtant> me soy ve Beare
LJ Preseribed snack consisting of: 6 saltine crackers or 3 graham crackers De Dri yur §
[7] am snack {_] mid-day snack ([] am snack On {

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[7 other: Paticdt Does we] (vy Guice «e AN | “FeyTing T bau Aue ueAf 2th
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[_] (Restricted medical diets not defined in the ADG Diet Reference Manual may be ordered only with the approval of the Medical Director of Health’

Services or designee with the following approving authority Signature.

[ Approving Authority Signature: )
RELIGIOUS DIETS / . : dQ J |
eae tbat ee oo Q ; ot ‘
— Lacto Vegetarian Biet Ve AN
far Q V CS (atows milk end milk products) [7] Kosher Diet Plan )
\. el

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NOTICE TO INMATE - Medical Diets take precedence over Religious Diets. ifa matical condition exists that is contraindicated by the Religious Diet |
tha Medical Diet will supersede it. Inmate wil! be removed from the diet roster for non-compliance when five (5) meals are missed in seven(?)
calendar days, or when the inmate requests removal in writing. inmates are to receive only the prescribed religious/medical diet and each inmate is

responsible for his/her rastricted clet and compliance to thelr diet.

MEDICAL - | understand thesterms and conditions of this diet. a

inmate's Signature vw ¢~ Date 3 o \ AK Comments Crd 3 Crna ct g. fine
=~ Oe Cartan (LE Ut uot f Rarer

fr

L wn) ,
Approved py: AA me yt U act Date a + Nae
’ & 3 hea. tO Me s 2 i tf Farrier ato! Dior &
6 months. Second violation wil! result in a 12 th

-} RELIGIOUS -| cBerstangfaet miss 6 meals In 7 days | may be removed from this dlet for

suspension. ° 4
inmate's Signature Date Comments
Approved by: Date
oe
DIET [S BEING DISCONTINUED DUE TO: Date .
.. _
DISTRIBUTION Initial - Originator - Top portion of farm only, Food Service Lialson - Remaining form - Diet Card Only _
ARIZONA DEPARTMENT OF CORRECT IONS ,
Restricted Diet Card $7 ~
. Food Service
. Irunata Name ADC Number Expire Date Verification
Oo Lacto Vegetarian Diet
(Alfows milk and milk products)
oO can Ne adonolne (CJ Controbed Protein ((] Gluten Free
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(Full Uquis OG ne Sy {] Ren ysis C Kosher Diet Plan
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Prescribed snack isling af: 6 saitine kere of 3 graham crackers ~y-_— - -¢ 3
Physici Chap! ‘Signafura ao Date
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Case 4:16-cv-00282-DCB-PSOT Document 66 Filed 01/31/18 Page 23 of 39

ARIZONA DEPARTMENT

ARIZONA DEPARTMENT OF CORRECTIONS
INMATE GRIEVANCE APPEAL RESPONSE

GE CORRECTIONS

Unit

Log Inmate Name Case # Complex

# ADC# Ls
[ase] [Trip | [102081 | [ 1sci4ozs | [Tucson | [Mananita |

u are requesting a policy change that allows you to receive a

In your grievance filed at Manzanita Unit, yo
medical and religious diet at mealtimes.

een reviewed at Central Office and the Warden's response is affirmed. You are

red diet for food allergies. The medical diet cannot coexist with a vegan diet, as
re, as long as you remain on the

Your grievance appeal has b

currently on a medically orde
the vegan diet contains items to which you claim to be allergic. Therefo

medical diet, you cannot receive a vegan diet.
Your request for a policy change is denied.
No further action is warranted in this matter.
CC: Warden, Tucson Complex

HLR.

Appeals Officer
woe Susie 2( (3 (ie

Page | of 1
Case 4:16-cv-00282-DCB-PSOT Document 66 Filed 01/31/18 Page 24 of 39

FEDERAL PUBLIC DEFENDER
District of Arizona

850 W. Adams, Suite 201

Phoenix, Arizona 85007
JON M. SANDS 602-382-2700
Federal Public Defender (Fax) 602-382-2800

1-800-758-7053

May 4, 2016
Greg Fizer, Warden
ASPC-Florence
P.O. Box 629
Florence, AZ 85132

Re: Anant K, Tripati #102081
Dear Warden Fizer,

I represent Mr. Tripati regarding a possible international prisoner transfer. Mr. Tripati was
recently transferred to your complex from ASPC Tucson. While Mr. Tripati was at the Tucson
complex he was being treated by medical for various issues. He is currently taking a regiment of
twelve (12) medications. One of these medications needs to be administered every eight hours.

It is my understanding that your medical facility is only staffed twelve hours per day, and does
nct have the capability to give him this medication as necessary. Consequently, Mr. Tripati has
been suffering seizures, high blood pressure, and is feeling ill. I recognize that his medicai caw
is under the direction of the ASPC medical staff. I bring this to your attention because of his
health issues. He did receive his medication where he was at the Tucson complex. Perhaps
arrangements can be made to give him his medication here. ,

If you have any questions or concerns, please do not hesitate to contact me at the number listed
above.

Sincerely,

(Sunpy-

JON M. SANDS
Federal Public Defender
District of Arizona
JMS:kl

cc: Anant Tripati
Case 4:16-cv-00282-DCB-PSOT Document66- Filed 01/31/18 Page 25 of 39

SPARIMENT Ur VURKES UNS

evance - GF Supplement

wt Name (Last, First M1.) ADC Number institution/Facility Case Number
RAPATI, ANANT 102081 ASPC-Tucson / Manzanita | 12-0 14-051

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f OY
This is a response to your Inmate Grievance dated 3/1 5/12 which was received in the Tucson Inmate Health Services office

4/10/12. Your grievance is in regard to medication adjustments being process as recommended by the outside provider
and not receiving them on a consistent basis.

Your concerned has been reviewed and determined that the outside provider recommended changes to your medication.

The D.O.C provider reviewed those changes and you were placed on provider line to be evaluated. You were seen by the
D.O.C provider on 3/16/12 and your. Gabapentin was increased to 900mg every six hours.as needed, and your Senna was
increased to two-tablets twice.a day. You have consistently been receiving your Gabapentin since 1/23/12, with your dose
increase on 3/16/12. You have consistently been receiving your Senna since 1/1 6/12, with your dose increase on 3/16/12.

The D.O.C provider makes the final determination on the amount and what medication inmates are to be prescribed.

HV/al

YOU MAY APPEAL THIS DECISION TO THE DIRECTOR BY REQUESTING APPEAL FORM GF-2.

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INITIAL DISTRIBUTION - Committee Recommendation - All copies to Grievance Advisory Committee
FINAL DISTRIBUTION - White and Pink - Inmate, Canary - Grievance File
INITIAL DISTRIBUTION - GF Supplement - White and Canary - Grievance Coordinator, Pink - inmate 802-7

FINAL DISTRIBUTION - White - inmate, Canary - Grievance File 7113/09
Case 4: 16-cve -00882- DGB-PEOT: Boelinent 66" « Filed 01/31/18 +"

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Discharge Summary wy

TRIPATL, ANANT x
MRN #: 897486 °- [I
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going on Nias 40 mg daily-for the next 4 weeks, fluconazole 200 mg daily. fér ve
weeks, and he is on day: 2. at the hospital, finasteride 5 mg p.a. daily, lovastatin 10 mg i i |
senna 8.6 me'p.d.' ‘daily, gabaperitin 900:meg 0; every 6 hours, doxazosin 1 mg p.o. daily; |!
multivitamin, ferrous: ‘sulfate 325 mg b.ild., Os-Cal and vitamin D 500 mg 2 tabs bil. a. atid
Zofran 4 mg every 6 Hours: Dp. 0. B rt. i nalsea pin nsio i ot

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DISCHARGE iNSt RUCTION S:. The patient is instructed if he is not recovering as &ipected my
or develops chest | painy, worsening | shortness of breath or further hematemesis that He ‘contact His wok
health care provider. Followup is with Dr. Towers with Gl in 4 weeks for BGP at. 874:2000,

and with Dr. Bobinson ‘at the DOG=" oh 1

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T saw and evaluated the > patient Discussdd with resident and agree with resident s findings

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Case 4:16-cv-00282-DCB-PSOT Document 66

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the evening. ¥f heinas céntinued: ‘complaint’ javing the |
higher dose” that hé Found: most affectiver Bogs
am sure e that-he would appreciate Whatever can be done to fulfill his et He

Gabapentin, 7

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ormation to.be eyiofisome | benefit ing your ‘continued care !

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Case 4:16-cv-00282-DCB-PSOT Document66 Filed 01/31/18 Page 31 of 39 e iS
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1601 WEST JEFFERSON |
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JANICE. K, BREWER CHARLES L. RYAN
GOVERNOR | DIRECTOR

MEDICAL GRIEVANCE APPEAL: TO THE DIRECTOR

Inmate Name: TRIPATL ANANT ADC No.: 102081 Case No | Sts. tag
Institution: ASPC-TUCSON/MANZANITA Date Received: September 19, 2012

| have reviewed your Grievance Appeal in which you state the change in the dosage, mode, and
frequency of administration of your Gabapentin leaves you: 1) without medicatioh for 17 hours
causing you substantial pain; and 2) getting sick the way it is currently administered as

dissolved in water.

Your Grievance Appeal has been investigated including a review of your medical records
Based on our findings, the decision of the Wexford Complex Site Manager |(C. Harris) is
affirmed and your appeal is denied. The reasons for this decision are:
1. Review of your medical records indicates you were previously giveh Gabapentin
three times a day and was recently changed to every 12 hours ori twice a day.
Although this medication is typically administered three times a day, it/has a half life
of 12-18 hours; therefore, twice a day dosing should provide sufficient level of
medication in your blood for efficient and continuous control of your pain symptoms.

2. On May 17, 2012, the Department’s Pharmacy & Therapeutics Committee decided
that Gabapentin will only be dispensed in capsule form and ordered as watch
swallow with powder of capsule placed in water. This will ass re the safe
administration of Gabapentin to appropriate patients. Since Gabapentin is water
soluble, its time release action is not impacted.

3. Please submit a Health Needs Request (HNR) if you have additlonal medical
concerns or needs which you wish to discuss with a medical provider.

This response concludes the medical grievance process per Department Order 802.11 Medical

rf) | Q

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irector

. Ryan,

Re

Charles L

CC. Wexford Complex Site Manager, ASPC-Tucson
C.O. Inmate File

Case 4:16-cv-00282-DCB-PSOT Document 66 Filed 01/31/18 Page 32 of APH “A?

Arizona Pepaciment of Coccections

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(602) 542-5497
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JANICE K. BREWER CHARLES L. RYAN
GOVERNOR DIRECTOR

MEDICAL GRIEVANCE APPEAL: TO THE DIRECTOR |

Inmate Name: PREECS, RANDALL ADC No.: 142748 Case No. C14-117-012
Institution: ASPC-TUCSON/MAZANITA Date Received: ictober 1.2012

|
| have reviewed your Grievance Appeal in which you state that you have not been able to see a

provider regarding the change of dosage to your Gabapentin. !
|

Your Grievance Appeal has been investigated including a review of your medical records.

Based on our findings, the decision of the Wexford Complex Site Manager (C. Harris) is
affirmed and your appeal is denied. The reasons for this decision are: |

1, Review of your medical records indicates you were previously give n Gabapentin
three times a day; this was recently changed to every 12 hours or twice a day.
Although this medication is typically administered three times a day, it has a half life
of 12-18 hours; therefore, twice a day dosing should provide sufficient level of
medication in your blood for efficient and continuous contro! of your symptoms.

2. As for the other issues raised in your Grievance Appeal, per Department Order 802,
you need to attempt to solve them informally and follow the grievance process before

filing an appeal.

3 Please submit a Health Needs Request (HNR) if you have additional medical
concerns or needs which you wish to discuss with a medical provider.

This response concludes the medical grievance process per Department Order |802. 11 Medical

Grievance.
|
|
04 <—f lL SS hola [
‘a L. Ryan, jO | Date

cc: Wexford Complex Site Manager, ASPC-Tucson
C.O. Inmate File

Page 1 of 1
Cas

e 4:16-cv-00282-DCB-PSOT Document 66 Filed 01/31/18

Page 33 of 39
Case 4:16-cv-00282-DCB-PSOT Document 66 Filed 01/31/18 Page 34 of 39

WILMERHALE
August 15, 2017 Kathy Pomeroy
Warden Kevin Curr | 31 202 663 6365 ()
arden Kevin Curran *
Arizona State Prison Complex Florence kathy.pomeroy@wilmerhale.com
East Unit
P.O. Box 629

Florence, AZ 85132

Dear Warden Curran:

By appointment of the court, I represent Anant Tripati, ADC# 102081, in Tripati v. -Corizon Inc.,
No. 16-15598 (9th Cir.). I recently learned that clearly marked legal mail I sent to Mr. Tripati
was opened by prison officials outside of his presence, in violation of Rule 902.11, part 1,4.2.1,
which states that “[a]ll incoming mail, letters, memoranda, and documents, from an inmate’s
attorney or from a judge or court, shall be opened for inspection purposes in the presence of the
inmate. Such incoming mail may be scanned in the conducting of an inspection for contraband,
but shall not be read or censored by staff.” For example, I sent a Federal Express envelope
(tracking # 787401243853) to Mr. Tripati, with delivery accepted on August 3, 2017. Mr.
Tripati informed me that he received this envelope after it had already been opened. He stated
that this was not the first occasion on which he received pre-opened legal mail from me.

I ask that you respond to this letter to inform me what steps you will take to ensure that mail I
send to Mr. Tripati in the future will be handled in accordance with prison rules, If violations of
those rules persist, I expect to seek judicial redress.

cc: Assistant Attorney General Paul E. Carter
Arizona Office of the Attorney General
416 West Congress St.
2nd Floor
Tucson, AZ 85701

Wilmer Cutler Pickering Hale and Dorr u, 1875 Pennsylvania Avenue NW, Washington, DC 20006
Beijing Berlin Boston Brussels Denver Frankfurt - London Los Angeles New York Palo Alto Washington
Case 4:16-cv-00282-DCB-PSOT

Private and Confidential

Mr Anant Kumar Tripati
In mate # 102081

PO Box 5000

Florence

Arizona

USA 85132

24 April 2017

Filed 01/31/18

Document 66 Page 35 of 39

3 =©12 Gough Square
London
EC4A3DW

Direct
44 (0)20 7665 5000 Main
44 (0)20 7665 5001 Fax

Our ref: JJC/SS
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Case 4:16-cv-00282-DCB-PSOT Document 66 Filed 01/31/18 Page 36 of 39

Director:

Prison Law OFFIce Donald Specter
General Delivery, San Quentin, CA 94964
Telephone (510) 280-2621 ® Fax (510) 280-2704 Managing Attorney:
isonl Sara Norman
www.prisonlaw.com

Staff Attorneys:
Mae Ackerman-Brimberg
Rana Anabtawi

LEGAL MAIL - CONFIDENTIAL Alon Handy

Sia Henry
Corene Kendrick
Rita Lomio

July 31, 2017 Margot Mendelson
Millard Murphy

Anant Tripati, ADC 102081 Lynn Wu

Florence - East
PO Box 5000
Florence, AZ 85132

Dear Mr. Tripati:

We saw that you filed a Notice of Retaliatory Actions with the court on 7/26/17. Among other
things, you report that ADC is withholding your legal mail. We are very concerned by this report.

Have you tried to send us a letter this year? We have not received a letter from you. We sent a
letter to you on 7/24/2017. Did you receive that letter? I am enclosing a prepaid envelope you can use to
write us back.

I also am enclosing some general information on legal may that may be useful to you.
We wish you the best, Mr. Tripati. Take care.

Sincerely,

my. Tyipach , , A
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7/ 3l [ / 7. (4 your have I tieation sistant under Rita Lomio
filed grievances fav

. to the Courts; Hayes v. Idaho Corr. Ctr., 849 F.3d 1204
UN wodicotio”’ tv. Penzone, 849 F.3d 1191 (9th Cir. 2017); Nordstrom v.

issvés, pase J 2017); SASE
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we —fLo :

Board of Directors
Penelope Cooper, President * Michele WalkinHawk, Vice President * Marshall Krause, Treasurer
Harlan Grossman ¢ Christiane Hipps * Margaret Johns * Cesar Lagleva
Laura Magnani * Michael Marcum * Ruth Morgan * Seth Morris
Case 4:16-cv-00282-DCB-PSOT Document 66- Filed OWedvaiis DEPARTARER?

ARIZONA DEPARTMENT OF CORRECTIONS
INMATE GRIEVANCE APPEAL RESPONSE

Log # Inmate Name ADC# Case # Complex Unit
| 383 | | Tripai | |_102081_ | [_Aososoor7 |] [Florence | [ - Bat |

In your grievance filed at the East Unit, you claim staff is opening your legal mail from your attorney outside
your presence. You further assert that there is nothing in Department Order 902 that requires you to receive
legal correspondences and/or legal material from your attorney's current law firm location in Los Angeles.
Your resolution is to stop opening your legal outside your presence. ,

Your grievance appeal has been reviewed at Central Office and the Deputy Warden's response is affirmed. The
only approved legal mail from Attorney Romero shall have his Los Angeles California address, No other

address will be accepted as legal mail and will be returned to sender with a notice to you stating this fact. This
office finds no negligence on behalf of the mailroom staff.

No further action is warranted in this matter.
cc: Warden, Florence Complex

cd.

Appeals Officer

Charlgs L. Ryan, Divector

EAST UNIT
SEP 27 2017
GRIEVANCE COORDINATOR

Page 1 of 1
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5 = Computer disk .
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